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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

TIMOTHY BUBB,

                              Plaintiff,                              ORDER

       v.                                                         20-cvB101-wmc

KILOLO KIJAKAZI,
Acting Commissioner of Social Security,

                              Defendant.




       On December 21, 2021, the court issued an order remanding this case to the

commissioner for further proceedings under sentence four of 42 U.S.C. ' 405(g). Now before

the court is the parties’ stipulation for an award of attorney=s fees under the Equal Access to

Justice Act, 28 U.S.C. ' 2412 in the amount of $5,730.65 and costs in the amount of $0.

(Dkt. #25.)


                                             ORDER

       IT IS ORDERED that the parties’ stipulation for an award of attorney fees under the

Equal Access to Justice Act is GRANTED.           Plaintiff is awarded fees in the amount of

$5,730.65. These fees are awarded to plaintiff and not plaintiff’s attorney and can be offset

to satisfy pre-existing debts that the litigant owes the United States under Astrue v. Ratliff, 560

U.S. 586 (2010). If counsel for the defendant verifies plaintiff owes no pre-existing debt

subject to offset, defendant shall direct that the award be made payable to plaintiff’s attorney

pursuant to the EAJA assignment duly signed by plaintiff and counsel.

               Entered this 21st day of March, 2022.

                                             BY THE COURT:
                                             /s/
                                             __________________________________
                                             WILLIAM M. CONLEY
                                             District Judge
